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                      IN THE UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION
                             Case No. 1:23-md-03076-KMM

    IN RE:

    FTX Cryptocurrency Exchange Collapse Litigation

    This Document Relates To:

    Chernyavsky, et al. v. Temasek Holdings (Private) Limited, et al.
    Case No. 1:23-cv-22960 (S.D. Fla.)

    Cabo, et al. v. Temasek Holdings (Private) Limited, et al.
    No. 1:23-cv-23212 (S.D. Fla.)
                                                                 /


         SINO GLOBAL CAPITAL HOLDINGS, LLC’S MOTION TO DISMISS THE
            [CORRECTED] ADMINISTRATIVE CLASS ACTION COMPLAINT
                   FOR INSUFFICIENT SERVICE OF PROCESS
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           Sino Global Capital Holdings, LLC respectfully submits this motion to dismiss the

   [Corrected] Administrative Class Action Complaint (Dkt. #182) (the “Complaint”) pursuant to

   Rule 12(b)(5) of the Federal Rules of Civil Procedure due to insufficient service of process. 1

                                     PRELIMINARY STATEMENT

           The Complaint aggregates allegations of four transferred actions. 2 Plaintiffs initially

   named as a defendant Sino Global Capital Limited (“Sino Global”), which Plaintiffs allege is a

   venture capital firm headquartered in Hong Kong. Complaint ¶ 34. In two of those transferred

   actions, 3 and in the Complaint, Plaintiffs also named a separate, unrelated entity, Sino Global

   Capital Holdings, LLC (“SG Capital Holdings”), id. – although there is no other mention in the

   entire Complaint about it.

           Plaintiffs have utterly failed to serve, or even attempted to serve, Sino Global with any

   documents, and counsel for Plaintiffs have confirmed that they have not served Sino Global (Dkt.

   #280). All purported service has been on SG Capital Holdings, through its registered agent CSC. 4

   But even Plaintiffs’ sloppy attempts to effectuate service of process on SG Capital Holdings fail



   1
           Sino Global Capital Holdings, LLC also joins the Multinational VC Defendants’ separate motion
   to dismiss the Complaint pursuant to Rule 12(b)(6), and the Foreign Investor Defendants’ separate motion
   to dismiss the Complaint pursuant to Rule 12(b)(2).
   2
           O’Keefe v. Sequoia Capital Operations, LLC, No. 23-cv-20700 (S.D. Fla.) (“O’Keefe I”);
   Chernyavsky v. Temasek Holdings (Private) Limited, No. 23-cv-22960 (S.D. Fla.); O’Keefe v. Temasek
   Holdings (Private) Limited, No. 1:23-cv-23065 (S.D. Fla.) (“O’Keefe II”); Cabo v. Temasek Holdings
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   4
           Plaintiffs purported to effectuate service on SG Capital Holdings through CSC of the following
   documents: (1) on August 11, 2023, a Notice regarding tag-along actions; (2) on August 14, 2023 and
   August 16, 2023, the Cabo v. Temasek Holdings (Private) Limited, No. 23-cv-03974 (N.D. Cal.) Complaint;
   (3) on August 16, 2023, the Chernyavsky v. Temasek Holdings (Private) Limited, No. 23-cv-22960 (S.D.
   Fla.) Complaint; and (4) on August 16, 2023, a Notice of Filing of Conditional Transfer Order. See
   Declaration of Matthew Graham, dated September 22, 2023 (“Graham Decl.”), ¶¶ 2-5.
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   because Plaintiffs have not served the operative Complaint in this action. The Complaint should

   be dismissed against SG Capital Holdings. Sino Global has not been served, has no obligation to

   respond to the Complaint, and thus is not a movant.

                                              ARGUMENT

          Under Fed. R. Civ. P. 12(b)(5), a case may be dismissed for insufficient service of process

   if the defendant is not served in accordance with F.R.C.P. 4. Laltitude, LLC v. Freshetech, LLC,

   2022 WL 14636889 (M.D. Fla. Oct. 24, 2022). After the defendant satisfies its initial burden of

   challenging the sufficiency of service, the burden shifts to the plaintiff to prove a prima facie case

   of proper service of process. Id.

      A. Plaintiffs have failed to serve the operative Complaint.

          The Complaint (Dkt. #182) in this multi-district litigation serves as the operative pleading,

   and has not been served on Sino Global. See Gelboim v. Bank of Am. Corp., 574 U.S. 405 (2015)

   (finding that the master MDL complaint supersedes prior pleadings); In re Takata Airbag Prod.

   Liab. Litig., 379 F. Supp. 3d 1333 (S.D. Fla. 2019) (“Multidistrict litigation (MDL) court would

   treat consumers' complaints filed in MDL as operative pleadings, rather than complaints filed in

   other district courts that were transferred to MDL court for consolidation”).

          Plaintiffs attempted to effectuate service on SG Capital Holdings with only the complaints

   in two of the transferred actions, and various notices of transfer, but not the operative Complaint

   as amended and filed pursuant to this Court’s order. (Graham Decl. ¶¶ 2-6.) Lack of service of

   the operative pleading alone warrants dismissal. See In re Trasylol Products Liability Litigation-

   MDL-1928, 2011 WL 5529934 (S.D. Fla. July 21, 2011).

      B. Plaintiffs have failed to effectuate service on Sino Global.

          Under Rule 4, to serve a foreign corporation that is not within any judicial district of the

   United States, service must be accomplished “by any internationally agreed means reasonably
                                                     2
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   calculated to give notice, such as those means authorized by the Hague Convention...” See Fed. R.

   Civ. P. 4(f)(1); 4(h)(2). Absolutely no attempts have been made to serve Sino Global – whether

   at its Hong Kong headquarters, or anywhere in the United States. Plaintiffs do not allege that they

   have served Sino Global, have filed no proof of service of any documents as to Sino Global, and

   even recently filed a motion for alternate service, effectively conceding that they have not served

   Sino Global (Dkt. #280). Sino Global thus has no obligation to respond to the Complaint. See

   Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347 (1999) (“an individual or entity

   named as a defendant is not obliged to engage in litigation unless notified of the action, and brought

   under a court's authority, by formal process.”).

                                             CONCLUSION

          For the foregoing reasons, the claims against Sino Global Capital Holdings, LLC should

   be dismissed for insufficient service of process.

   Dated: September 22, 2023




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                        CERTIFICATE OF GOOD FAITH CONFERENCE

          Pursuant to Local Rule 7.1, counsel for the Multinational VC Defendants conferred with

   counsel for the Plaintiffs in a good faith effort to resolve the issues presented by this motion. The

   parties were unable to resolve the issues.


   Dated: September 22, 2023



                                                         /s/ Jason P. Gottlieb
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                                                        Holdings, LLC




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                                      CERTIFICATE OF SERVICE

           I hereby certify that on this 22nd day of September, 2023, I e-filed a true and correct copy of

   the foregoing document using the Court’s CM/ECF system, which will send a notice of electronic

   filing to all counsel of record.




                                                                   /s/ Jason P. Gottlieb




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